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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


 JOHN KEITH HEBERT                                 CASE NO. 6:21-CV-03160

 VERSUS                                            JUDGE JAMES D. CAIN, JR.

 USA ET AL                                         MAGISTRATE JUDGE CAROL B.
                                                   WHITEHURST

                                        JUDGMENT

        For the reasons stated in the Report and Recommendation (Doc. 5) of the Magistrate

 Judge previously filed herein, and after an independent review of the record, determining

 that the findings are correct under the applicable law, and considering the objections to the

 Report and Recommendation in the record;

        IT IS ORDERED, ADJUDGED AND DECREED that this lawsuit be and is

 hereby DISMISSED WITH PREJUDICE.

        THUS DONE AND SIGNED in Chambers on this 15th day of October, 2021.




                         __________________________________
                                 JAMES D. CAIN, JR.
                         UNITED STATES DISTRICT JUDGE
